                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                               3:15-CR-00170-RJC-DSC
 USA,                                              )
                                                   )
                  Plaintiff,                       )
                                                   )
     v.                                            )         ORDER
                                                   )
 JAMES ANTONIO LANGSTON,                           )
                                                   )
                  Defendant.                       )
                                                   )

          THIS MATTER is before the Court upon the defendant’s Motion for Review of

Detention Order, pursuant to 18 U.S.C. § 3145(b). (Doc. No. 11).

          The defendant was arrested on June 29, 2015, for conspiracy to possess with intent to

deliver at least five kilograms of cocaine, for which he may face a mandatory life sentence under

21 U.S.C. § 841(b)(1)(A). (Doc. No. 1: Complaint). The defendant was detained by a magistrate

judge after a hearing on July 2, 2015. (Doc. No. 8: Order). At the hearing, the government

related the details of the defendant’s arrest at an attempted drug transaction involving more than

a kilogram of cocaine and his subsequent Mirandized confession. Although a United States

Probation officer recommended release on bond, the Pretrial Services Report details a lengthy

criminal history including four prior drug trafficking felonies. (Doc. No. 6: Pretrial Services

Report at 4-8). In finding that there was a serious risk that the defendant will not appear and will

endanger the safety of any other person or the community, the magistrate judge noted that the

defendant was on probation for a state drug conviction at the time of the alleged instant offense.

(Doc. No. 8: Order).




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         A district court is required to make an independent, de novo determination when acting

on a motion to revoke or amend a magistrate judge’s pretrial detention order. United States v.

Stewart, 19 F. App’x 46, 48 (4th Cir. 2001)(citing United States v. Rueben, 974 F.2d 580, 585-

86 (5th Cir. 1992). However, a district court is not required to hold an additional evidentiary

hearing as part of its review. United States v. King, 849 F.2d 485, 489-90 (11th Cir. 1988);

United States v. Hare, 873 F.2d 796, 799 (5th Cir. 1989). After conducting its independent

review, a district court may explicitly adopt the magistrate judge’s order without making

duplicate findings or may state additional reasons supporting pretrial detention. King, 849 F.2d at

490-91.

         Here, the Court has carefully conducted a de novo review of the evidence presented

before the magistrate judge and the entire record in this case.1 The Court finds the magistrate

judge’s factual findings and legal conclusions were correct, and, thus, adopts the magistrate

judge’s Order of Detention Pending Trial, (Doc. No. 8), in its entirety.

         IT IS, THEREFORE, ORDERED that the defendant’s Notice of Appeal and Motion to

Revoke Detention Order, (Doc. No. 11), is DENIED.

         The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.


                                                Signed: August 26, 2015




1
    The hearing has not been transcribed, but the Court reviewed a recording of the proceedings.
                                                   2

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